                               In the
                          Court of Appeals
                  Second Appellate District of Texas
                           at Fort Worth
                                No. 02-24-00327-CV

IN THE INTEREST OF I.R., A CHILD          §    On Appeal from the 360th District
                                               Court

                                          §    of Tarrant County (360-551720-14)

                                          §    August 22, 2024

                                          §    Per Curiam Memorandum Opinion

                                   JUDGMENT

       This court has considered the record on appeal in this case and holds that the

appeal should be dismissed. It is ordered that the appeal is dismissed for want of

jurisdiction.


                                     SECOND DISTRICT COURT OF APPEALS

                                     PER CURIAM
